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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division



    ARELI VEGA REYNA, ET AL.,

                               Plainliffs.
                                                                )         Case No. l;17-cv-01192
                                                                )         Hon. Liam O'Grady

    RUSSELL HOTT, etal..

                                Defendanls.


                               MEMORANDUM OPINION AND ORDER

         This matter comes before the Court on Defendants' motion to dismiss. Dkt. 15. The

 motion is fully briefed and the Court heard oral arguments on January 12, 2018. For the

 following reasons and for good causc shown, the motion to dismiss is GRANTED. Also pending

 before the Court is Defendants' Amended Motion for Leave to File Declaration of Adonnis T.

 Smith. Dkt. 33. For good cause shown, the Motion is GRANTED. The declaration as attached to

 the Motion for Leave to File is considered tiled for purposes ofthe instant motion to dismiss.'
                                                I. BACKGROUND


          Plaintiffs in this case are the children of two individuals who were held in the custody of

 Immigration and Customs Enforcement (ICE) at the time the case was filed, as well as the

 detained individuals themselves. Plaintiff Macario Diaz Morales is a resident of Alexandria,

 Virginia, where he lives with his three children. Plaintiffs J.D.V., J.F.G., and K.G. Mr. Diaz

 Morales's children are United States citizens. From September 13. 2017 to November 1. 2017,

 Mr. Diaz Morales was held by ICE in a detention facility in Farmville, Virginia. Though


  While the Court reviewed the declaration, it did not alter the Court's decision that it has subject matter jurisdiction
 over this case.
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